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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

                                             )
 WILLIAM MADDEN, individually                ) Case No. 0:23-cv-02670-WMW-DJF
 and on behalf of all others similarly       )
 situated,                                   )
                                             )     PLAINTIFF’S MOTION FOR
                       Plaintiff,            )     LIMITED JURISDICITONAL
                                             ) DISCOVERY AND TO EXTEND THE
 v.                                          )      DEADLINE TO AMEND HIS
                                             )              COMPLAINT
 RADIUS GLOBAL SOLUTIONS                     )
 LLC,                                        )
                                             )
                       Defendant.            )
                                             )

       Plaintiff William Madden (“Plaintiff”), by and through his counsel, respectfully

moves the Court to permit him to seek limited discovery from Defendant Radius Global

Solutions, LLC (“Radius” or “Defendant”) for the purpose of establishing this Court’s

jurisdiction under the Class Action Fairness Act (“CAFA”); and, additionally, to extend the

deadline to amend his Complaint pursuant to the Court’s August 31, 2023 Order. In support

of this limited Motion, Plaintiff states as follows:

       1.     On August 29, 2023, Plaintiff filed a Class Action Complaint against Radius

for harm caused by a data breach that resulted in the theft of Plaintiff’s and hundreds of

thousands of other individuals’ sensitive information. ECF No. 1, at ¶¶ 1–6. The stolen

information included names, birth dates, social security numbers, patient treatment codes,

treatment locations, and treatment payment history. Id. at ¶ 6.

       2.     In his Complaint, Plaintiff alleged the Court had subject matter jurisdiction

under CAFA, 28 U.S.C. § 1332(d). CAFA affords federal jurisdiction where a class action
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involves more than 100 class members, the amount in controversy exceeds $5,000,000,

exclusive of interest and costs, and at least one proposed class member is diverse from at

least one defendant. 28 U.S.C. § 1332(d). Plaintiff had a good faith basis to allege the

Court has jurisdiction under CAFA because Radius operates nationwide and, consequently,

class members are likely located in many, if not all, states. Of the few state attorneys

general that list whether a data breach impacted their state’s citizens, several geographically

dispersed states have already listed Radius’s breach, including California, Maine,

Massachusetts, and Wyoming. Plaintiff, who resides in Texas, also received a notice,

indicating that class members also reside there.

       3.     On August 31, 2023, the Court ordered Plaintiff to file an amended

Complaint to add allegations that establish CAFA’s minimal diversity requirement is met.

ECF No. 5, at 4. As a limited liability company, Radius “takes the citizenship of all of its

members and ‘sub-members’ and ‘sub-sub-members.’” Id. at 2 (citing Key Enters., LLC v.

Morgan, 12-cv-2628-PJS-JSM, 2013 WL 353911, at *1 (D. Minn. Jan. 29, 2013)). In its

order, the Court stated that, to establish CAFA’s minimal diversity requirement is met here,

Plaintiff must: (1) identify Radius’s members and potential sub-members and their

citizenship; and (2) establish the likely citizenship of the potential class members. Id. at

3–4.

       4.     Plaintiff has diligently investigated Radius’s members and their citizenship.

Plaintiff determined that Defendant Radius Global, LLC is a wholly owned subsidiary of

NGI Acquisitions, LLC.        See Radius Global Solutions, LLC’s Rule 7.1 Corporate

Disclosure Statement, Kathleen Shiltz, et al. v. Radius Global Sols., LLC, et al., No. 12-cv-


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2403, ECF No. 19, ¶ 2 (D. Minn. Dec. 9, 2021) (attached to the Declaration of Brian C.

Gudmundson “Gudmundson Decl.” as Ex. A). Plaintiff further discovered that NGI

Acquisitions, LLC is a wholly owned subsidiary of NGI Investments, LLC. See Mot. to

Remand for Lack of Jurisdiction, Fickling & Co., Inc., et al. v. West Shore Legacy , LLC,

No. 1:22-cv-0238, ECF No. 6, ¶ 5 (S.D. Fla. Oct. 3, 2022) (attached to the Gudmundson

Decl. as Ex. B).

       5.     NGI Investments, LLC has reported in court filings that it has 475 members

with some having citizenship in Massachusetts and New York. Id. Plaintiff also believes

that NGI Investments, LLC has members with citizenship in Georgia and Florida based on

filings with the Georgia Secretary of State and Florida Secretary of State.

       6.     However, despite Plaintiff’s efforts to determine the members of NGI

Investments, LLC, and their citizenship, he has been unable to do so for all 475 members

based upon the limited information available in public records and filings. At the time of

filing this motion, no counsel has yet made an appearance on Radius’s behalf, meaning

Plaintiff has been unable to determine Radius’ position on the Court’s August 31, 2023

Order or work with Defendant to informally obtain information about Radius’ citizenship

and the location of the data breach notice recipients.

       7.     Where, as here, a determination of jurisdiction requires identifying the

citizenship of Defendant’s sub-members, jurisdictional discovery is necessary and

appropriate. See MN Airlines, LLC v. Global Aviation Servs. USA, Inc., No. 19-cv-0843,

2019 WL 2296882, at *1 (D. Minn May 30, 2019) (“Defendants ask that the Court allow

jurisdictional discovery so Defendants can determine the citizenship of the members of the


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LLC. At this early stage of the litigation, Defendants are entitled to discovery on this

issue.”); see also Pudlowski v. The St. Louis Rams, LLC, 829 F.3d 963 (8th Cir. 2016)

(“‘[W]here issues arise as to jurisdiction or venue, discovery is available to ascertain the

facts bearing on such issues.’” (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340,

351, n. 13 (1978)).

       8.     Consequently, Plaintiff respectfully requests the Court allow him to take

limited discovery from Defendant to determine: (1) the citizenship of the members and any

sub-members of Radius; and (2) the states to which Radius sent notice to individuals of the

data breach. Specifically, should the Court grant Plaintiff’s Motion, Plaintiff intends to

serve interrogatories pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure. 1

       9.     Plaintiff also requests the Court extend the deadline to file an amended

complaint to October 26, 2023 to permit sufficient time to obtain the necessary

jurisdictional discovery.

       10.    For the reasons set forth above, Plaintiff respectfully requests the Court grant

his Motion.

                                           Respectfully submitted,

Dated: September 14, 2023                  /s/ Brian C. Gudmundson
                                           Brian C. Gudmundson (MN Lic. #336695)
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 Plaintiff has attached as Exhibit C to the Gudmundson Decl. the proposed interrogatories
he would serve on Radius should the Court grant his motion.

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